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                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

TOMYIA CRENSHAW                             §
                                            §
                      Plaintiffs,           §
                                            §
vs.                                         §
                                            §              Case No:
                                            §
LEONARD ANDERSON,                           §
DARRIEN ROBERTSON,                          §
AND THE CITY OF DALLAS,                     §
                                            §
                      Defendants.           §
                                            §


                         PLAINTIFF’S ORIGINAL COMPLAINT


       COMES NOW, TOMYIA CRENSHAW (“Crenshaw”) and (“Plaintiff”), and files this

Original Complaint against Defendants Leonard Anderson (“Anders” or “Officer Anders”),

Darrien Robertson (“Robertson” or “Officer Robertson), and the City of Dallas (“City”) as the

entity in charge of the Dallas Police Department (“DPD”) (collectively, “Defendants”) and alleges

as follows:

                          I.        SUMMARY OF THE PETITION

       1.     On May 13, 2020, Officers Leonard Anderson and Darrien Robertson changed

Tomyia Crenshaw’s life. On the date of the incident, Anderson and Robertson were engaged in

routine patrolling assignments. The officers had stationed their vehicle at a Chevron gas station

located on Martin Luther King Boulevard in the early morning in South Dallas. At approximately

2:20 a.m., Defendants Anderson and Robertson noticed a red car, driven by Plaintiff Tomyia

Crenshaw, passing through the intersection without headlights on.



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       2.      Without a moment to spare, Defendants began to pursue Crenshaw. Crenshaw was

obviously concerned with a random vehicle beginning to chase him. Eventually, Defendants

activated their emergency lights and sirens, further terrifying Crenshaw, ultimately leading to a

high-speed chase for a minor headlight violation.

       3.      Defendants tailed Crenshaw for a few blocks before eventually turning off their

sirens and deactivating the emergency lights. Despite turning off the sirens and patrol lights,

Defendants continued to pursue Crenshaw. This chase lasted for several minutes, giving

Defendants ample time to contemplate their actions and understand the danger this high speed

chase posed to Crenshaw and others. Eventually, Crenshaw lost control of the vehicle, jumped a

curb along Martin Luther King Blvd., and crashed into a tree in the neighborhood.

       4.      Crenshaw’s vehicle immediately burst into flames. Despite witnessing the fiery

inferno threatening Crenshaw’s life, Defendants Anderson and Robertson did not stop their patrol

car. The officers did not pull over. The officers made no attempt to stop and render aid to

Crenshaw. Instead, bystanders who witnessed Anderson and Robertson leave the scene had to pull

Crenshaw out of the burning vehicle as fire continued to overtake the car.

       5.      When Defendants Anderson and Robertson realized that Crenshaw was likely

injured, they did not immediately turn around and return to the scene. Instead, while still looking

at the scene, the officers were recorded on dashcam footage saying, “That’s his fault,” before

abandoning Crenshaw to his injuries. Only after Defendants received a distress call from dispatch

did they finally return. Many witnesses saw Defendants’ actions in continuing to chase Crenshaw

despite turning off their lights and sirens and then driving right up to where Crenshaw had crashed

before turning and leaving the scene without rendering any aid.




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       6.      Officers Anderson and Robertsons’ careless, intentional, and conscious disregard

of their duties as sworn police officers caused Tomyia Crenshaw’s injuries. Before Anderson and

Robertson pursued Crenshaw, in violation of DPD policy, Crenshaw had simply made a left turn

down an empty street in the early morning in South Dallas. Crenshaw had committed no crimes at

all. Defendants Anderson and Robertson rushed to judgment, and when their pursuit caused

Crenshaw to lose control of his vehicle and suffer third-degree burns now covering approximately

fifty percent of his body, Defendants were nowhere to be found —to either render aid—or take

responsibility for the consequences of their actions. Defendants in their haste to chase Crenshaw

violated other DPD policies in exceeding the maximum speeds for vehicle pursuits.

       7.      This action is brought under 42 U.S.C. § 1983 and seeks justice—and

accountability—for the wrongful, unjust, and careless pursuit of Tomyia Crenshaw, and resulting

failure of Officers Anderson and Robertson to render first aid to Crenshaw, which caused

Crenshaw’s injuries and so many others at the hands of Dallas Police Department.

                                        II.    PARTIES

       8.      Plaintiff Tomyia Crenshaw brings claims Individually. Tomyia Crenshaw is a

citizen of the United States and the State of Texas, and resides in Dallas County, Texas.

       9.      Defendant Leonard Anderson is a Dallas Police Department officer who, at all

times relevant to this action, was acting under color of law and within the scope of his employment

as a Dallas Police Department.

       10.     Defendant Darrien Robertson is a Dallas Police Department officer who, at all times

relevant to this action, was acting under color of law and within the scope of his employment as a

Dallas Police Department.




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         11.   Defendant, The City of Dallas, Texas, is a municipal corporation operating

according to the Constitution and laws of the State of Texas. The City of Dallas operates and is

responsible for the Dallas Police Department. The City of Dallas can be served with process by

serving its City Secretary at 1500 Marilla Street, Room 5 D South, Dallas, Texas 75201 in any

manner authorized by the Federal Rules of Civil Procedure.

                             III.   VENUE AND JURISDICTION

         12.   This Court has federal question jurisdiction over this suit pursuant to 28 U.S.C.

§1331 because this action arises under the Constitution and laws of the United States.

         13.   This Court has supplemental jurisdiction over all claims asserted under the laws of

the State of Texas, pursuant to 28 U.S.C. § 1367(a).

         14.   This Court has personal jurisdiction over Defendants City of Dallas and the Dallas

Police Department, as it is a political subdivision of the State of Texas, located within the

boundaries of the Dallas Division of the United States District Court for the Northern District of

Texas.

         15.   This Court has personal jurisdiction over Defendant Officer Leonard Anderson as

he resides in and/or works in the Northern District of Texas.

         16.   This Court has personal jurisdiction over Defendant Officer Darrien Robertson as

he resides in and/or works in the Northern District of Texas.

         17.   Venue is proper in this court because all or a substantial part of the events giving

rise to Plaintiffs’ cause of action occurred in Dallas County, Texas. 28 U.S.C. § 1331. Specifically,

Defendants’ wrongful actions occurred on Martin Luther King Boulevard, Dallas, Texas 78216.




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                               IV.       PRE-SUIT REQUIREMENTS

       18.       Plaintiffs have satisfied the prerequisites to suit specified by the Texas Tort Claims

Act, Civil Practice and Remedies Code § 101.101, for each claim in this complaint to which those

laws apply. The City had actual notice of the injury due to a statement of claim delivered to the

City of Dallas Law Department and the Dallas Police Department.

                             V.         DUTY AND APPLICABLE LAW

       19.       Tomyia Crenshaw was injured and denied medical attention by first responders in

violation of 42 U.S.C. § 1983.

       20.       Crenshaw pursues this action pursuant to 42 U.S.C. § 1983, which provides in

relevant part for redress for every person within the jurisdiction of the United States for the

deprivation, under color of state law, of any rights, privileges, or immunities secured by the

Constitution and laws of the United States.

       21.       Defendant City of Dallas, through policies, patterns, and practices, acted under

color of law and is liable under 42 U.S.C. § 1983.

       22.       Defendant Officer Anderson was acting under color of law and is liable under 42

U.S.C. § 1983.

       23.       Defendant Officer Robertson was acting under color of law and is liable under 42

U.S.C. § 1983.

                                  VI.    FACTUAL ALLEGATIONS

       24.       On May 13, 2022, around 2:20 a.m., DPD officers, Senior Cpl. Leonard Anderson

(“Anderson”) and police Officer Trainee Darrien Robertson (“Robertson”) were patrolling South

Dallas. Anderson was training Robertson at the time. Robertson and Anderson were near a

Chevron gas station on Martin Luther King, Jr. Blvd. in the southern region of Dallas, Texas.




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Robertson and Anderson saw a red vehicle, driven by Crenshaw, leave a gas station and turn down

Martin Luther King, Jr. Blvd. without headlights on.

           25.     Robertson and Anderson followed Crenshaw’s vehicle and activated their

emergency lights and sirens. Although Crenshaw had not committed any crimes and did not meet

the requirements for engaging in a high-speed pursuit, a high-speed chase ensued. This was in

direct violation of DPD policy stating that unless a suspect is wanted for a felony or in the process

of a felony, DPD should not pursue and/or engage in a high-speed chase for safety reasons.

Eventually, Robertson and Anderson turned off the emergency lights but continued to follow

Crenshaw’s vehicle at high speeds as if the pursuit was ongoing.

           26.     Shortly after turning off the emergency lights, dash camera footage from the police

vehicle that Robertson and Anderson were operating clearly shows that Crenshaw’s vehicle (whom

they had been chasing in violation of DPD policy mere moments before) jumped a curb along

Martin Luther King Blvd. and crashed at a high rate of speed. Crenshaw’s vehicle immediately

burst into flames.

           27.     Robertson and Anderson saw Crenshaw’s horrific crash occur; however, the

officers did not stop, continuing their way without checking on the driver. Dashcam footage in

Anderson and Robertson’s vehicle captured the two officers driving by the wreckage, with

Anderson quipping, “That’s his fault.”1 Anderson as a trainer was speaking to DPD policies to not

render aid despite seeing and causing what happened.

           28.     Instead, bystanders in the community, who witnessed Anderson and Robertson’s

police cruiser casually leave the scene, pulled the driver out of the car, and carried him away as

flames began to consume the vehicle. Anderson and Robertson later returned to the scene only



1
    Part of the dash cam footage can be found at this link: https://www.youtube.com/watch?v=hQoFD-f5WvQ.


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after hearing a distress call that the vehicle was in flames on the policy radio despite the fact that

they already knew the vehicle was in flames. Upon their arrival, captured on body cam, paramedics

can be seen tending to the bloodied Crenshaw on the sidewalk as other police officers face off

against angry onlookers who had seen Anderson and Robertson drive off.

        29.    DPD Police Chief Eddie Garcia stated that, “[i]f there are members of our

community who are outraged by this, rest assured, I am outraged as well. The civilians did what

our officers should have done, called for assistance and helped the injured individual.”2 Police

Chief Garcia placed Anderson and Robertson on administrative leave. Upon information and

belief, Anderson was fired and Robertson was suspended because of the Incident. However, it is

likely that both Anderson and Robertson will be back on the police force as per Defendants’ policy,

practices, and procedures.

        30.    As a result of Robertson and Anderson’s reckless and abhorrent conduct, Crenshaw

was trapped in a burning vehicle. He was pulled from the wreckage by Good Samaritans in the

neighborhood and was found bloodied on the sidewalk near the crash site. Paramedics provided

medical support services to Crenshaw for an unknown amount of time on the sidewalk; however,

such medical efforts were delayed due to Robertson and Anderson’s actions and inactions.

        31.    As a result of the vehicular crash and explosion, Crenshaw has suffered third degree

burns over fifty percent (50%) of his body. Some of the burns sustained by Crenshaw have been

to the bone, particularly to burns sustained from the waist down on Crenshaw’s person. Crenshaw

also suffered from a broken arm, broken leg, broken collar bone, hip, and ribs. Crenshaw was




2
 https://dallasexpress.com/city/dallas-police-fail-to-render-aid-to-
suspect/#:%7e:text=two%20dallas%20police%20officers%20face%20possible%20termination%20after,car%20at%
20a%20gas%20station%20in%20south%20dallas.


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hospitalized at Parkland Hospital in Dallas, Texas from the date of the Incident, May 13, 2022,

through September 3, 2022, due to his extensive injuries.

       32.     Crenshaw is still receiving outpatient treatment due to the injuries sustained in the

Incident. He is unable to stand and/or walk for any length of time. At twenty-three years old,

Crenshaw must now use a wheelchair and/or a walker to perform any activity(ies) associated with

daily living. He has undergone over twenty (20) surgeries, including incredibly painful

debridement procedures relating to treatment for his third-degree burns. Debridement refers to

removal of dead tissue from the burns. Debridement of burn wounds is important for third degree

burns to remove necrotic tissue and prevent infection. Tangential debridement refers to thin planar

excisions of dead or necrotic tissue followed by dressing changes and finally skin grafting.

       33.     Crenshaw anticipates past and future and medical bills and expenses, past and

future disfigurement, past and future physical limitation and/or incapacity, and has suffered past

pain and mental anguish, and anticipates future pain and mental anguish.

       34.     Chief Garcia said he is appalled and embarrassed by the incident: “I’m embarrassed

for the men and women of this department…[t]his is not what we stand for.” Angry citizens who

were at the incident scene, and actually performed the heroic action(s) of pulling Crenshaw from

the wreckage as it was engulfed in flames, asked DPD officers, “[w]hat if that was your people

brother?”

       35.     Additionally, DPD Officers Anderson and Roberson violated numerous policies

and procedures by improperly engaging in a high-speed vehicle chase and failing to stop and render

aid. The Dallas Police Department (DPD) violated established training protocols; failed to conduct

appropriate performance review procedures; failed to implement appropriate recruitment, hiring,

and candidate selection methods; failed to implement appropriate retention efforts; and failed to




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train, implement policies, and/or create an atmosphere that prohibited the very destructive, biased,

and reckless conduct of Officers Anderson and Robertson.

       36.     Recent legislative and social policy efforts have demanded that police efforts

combat racial profiling and enact policies that promote community policing efforts and conflict

resolution. Despite the numerous articles, courses, and media coverage of ways to prevent

escalating police encounter(s) that end in violence, including doing away with racial profiling,

waiting for police back-up, and systemic departmental changes relating to the types of candidates

recruited as police officers, Robertson, Anderson and the City disregarded these warnings and

violated established DPD policy regarding high-speed chases where no felony is suspected and/or

has occurred; the above cause(s) led to the ill-fated high-speed chase and horrific vehicular

accident, with the Crenshaw suffering life-threatening injuries. These actions at a minimum

constitute a reckless, wanton, and willful disregard of Crenshaw (and the public’s) rights and

safety. Further, it is clear that in engaging in the high-speed pursuit against DPD policy, it was

officers Anderson and Robertson’s intent to cause harm. Such intent is evidenced by the fact that

officers Anderson and Robertson simply drove away after witnessing Crenshaw’s car crash and

burst into flames.

       37.     Additionally, DPD has failed to enact proper policies and procedures concerning

rendering emergency medical treatment and has failed to properly train its officers with respect to

providing emergency medical treatment. DPD has been made aware of its failures several times.

For example, in 2020, a group presented “10 New Directions for Public Safety and Positive

Community Change,” to several city officials, including then Police Chief U. Renee Hall, Dallas

County Judge Clay Jenkins, and Dallas City Manager T.C. Broadnax. The document made several

suggestions for improvement within DPD, including, “DPD and Dallas County Sherriff’s




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Department shall create/review/reinforce policies concerning the ‘duty to intervene’ to prevent

officer misconduct and the ‘duty to render aid’ when a person needs first-aid assistance as a result

of officer conduct.” DPD clearly ignored this suggestion in deliberate indifference to the lives and

safety of its citizens.

        38.     Moreover, DPD was aware that its lack of a policy and lack of training with respect

to providing emergency medical aid was inadequate, as there have been several reports of DPD

officers either failing or refusing to provide aid to those in need. For example, in 2012 the Dallas

Citizens Police Review Board (the “Board”) investigated two (2) cases involving allegations of

denial of medical treatment. In August of 2018, the Board investigated another allegation of an

officer failing to provide medical treatment. In June of 2020, a woman reported to the Board that

several DPD officers sped passed her on the freeway nearly tearing the front bumper of her vehicle

off and did not stop to render aid. In July of 2020 a woman complained to the Board that she was

injured following an interaction with a DPD Officer and explained to the officer that she was

injured; however, the officer had no concern for her health or well-being and simply “waved her

off ‘like a fly or dog’ and yelled for her to get out of his way.” Also in July of 2020, a man reported

to the Board that he called the police in hopes of finding his granddaughter. The police did not

show up until two hours later, and when they did, they placed their knee on his stomach, causing

him to bruise. The officers then detained him in a car with no air for over thirty minutes, causing

him to have an asthma attack. Instead of providing first aid to the man, the officers completely

ignored him.

        39.     In August of 2018, DPD officers responded to a call of domestic disturbance. When

they arrived, police arrested Diamond Ross who then went into medical distress. When the police

arrived at Dallas Detention Center, they took Ms. Ross out of the squad car and left her on the




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pavement before picking her up and carrying her into jail. The officers then dragged an

unconscious Ms. Ross into a holding cell, plopped her down in a wheelchair, and left her there

without even attempting to perform CPR or otherwise provide medical attention to her. Ms. Ross

was pronounced dead the next day. Upon information and belief, neither of the DPD officers

involved in this case were terminated; instead, one received a written reprimand and the other

resigned.

          40.   In September of 2022, Shamond Lewis was suffering from a psychotic break when

DPD officers arrested and restrained him. Mr. Lewis’ mother explained to the police that he had a

mental health disorder that had been triggered; however, instead of taking Mr. Lewis to the hospital

to receive medical treatment, the officers took him to jail. Mr. Lewis died soon after.

          41.   The above-described incidents are only a few examples of the likely dozens of cases

in which DPD has refused or otherwise failed to provide medical treatment in the face of an

emergency. Such incidents are illustrative of the polices, practices, and procedures of DPD and the

City of Dallas that Officers Anderson and Robertson were acting in accordance with and that were

the driving force behind Defendants’ violation of Crenshaw’s clearly established constitutional

rights.

          42.   Permitting DPD officers to go unchecked for failing to render aid—especially

where, as here, they cause the accident in question—is shocking. Indeed, if a citizen who is not a

DPD officer failed to stop and render aid after causing a car accident, that citizen could be arrested

and convicted of a felony. See TEX. TRANSP. CODE § 550.021.

          43.   With the prolific media and expert coverage of the risks and signs of police

misconduct and racial profiling, and methods associated with preventing such practice(s) in our

police departments, this systemic, violent racism can no longer be tolerated in our police




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departments or communities. Community members trust that those who chose to become police

officers will protect and serve all members of their community without exception and regardless

of the color of their skin. Unfortunately, in this case, Anderson, Robertson, the DPD, and the

leaders within the DPD violated this trust when Robertson and Anderson drove away from a

horrific crash scene they helped cause, leaving Crenshaw to fight for his life as the vehicle became

engulfed in flames.

        44.      The incident occurred as a result of the involved officers’ negligent and reckless

conduct, the unlawful policies in place at the Dallas Police Department, and/or the failure to have

appropriate policies in place, the failure to train and supervise the involved officer(s), and negligent

hiring and retention of the involved officer(s).

          VII.     PLAINTIFF’s CAUSES OF ACTION AGAINST DEFENDANTS

                                            Count I
                            Excessive Deadly Force – 42 U.S.C. § 1983
                          (Against Defendant Anderson and Robertson)

        45.      Plaintiff realleges and incorporates by reference paragraphs 1 through 39 of this

complaint.

        46.      As described in the preceding paragraphs, Defendants officers violated Crenshaw’s

constitutional rights, including but not limited to those under the Fourth and Fourteenth

Amendments of the United States Constitution.

        47.      Crenshaw’s conduct prior to interaction with Defendants Anderson and Robertson

was not unlawful. Crenshaw turned his vehicle down an empty street. Crenshaw presented no clear

threat to Defendant officers at the time of their interaction. Crenshaw was not armed at the time,

and Crenshaw was not charged with a felony or related crime.




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        48.    Defendant officers reckless conduct in initiating pursuit of Plaintiff despite Plaintiff

having never been charged with a crime, deprived Plaintiff of his right to be secure in his persons

against unreasonable searches and seizures as guaranteed by the Fourth Amendment. Plaintiff’s

Fourth Amendment rights were further violated by Defendant Anderson and Crenshaw’s use of

excessive force.

        49.    Defendant officers’ conduct was excessive and objectively unreasonable and

undertaken with willfulness and reckless indifference to the rights and safety of others. In addition,

the misconduct and excessive force described in this Count “shocks the conscience.” Defendants

conduct violated established department policy, including but not limited to pursuing Crenshaw,

despite possessing actual or constructive knowledge that Crenshaw did not have a warrant for

either a felony or misdemeanor. As such, Defendants conduct was objectively unreasonable and

an improper method of police investigation resulting in excessive force being applied to apprehend

Plaintiff.

        50.    The conduct of Defendants Anderson and Robertson caused Crenshaw to suffer

injuries, and alternatively was a substantial factor in bringing about Crenshaw’s injuries, including

third-degree burns from the resulting vehicle accident.

                                         Count II
                      Failure To Render Medical Aid – 42 U.S.C. § 1983
                                  (Against All Defendants)

        51.    Each of the Paragraphs of this Complaint is incorporated as if fully stated herein.

        52.    In the manner described in this Complaint, Defendant officers Anderson and

Robertson at all relevant times herein, Defendants were “persons” for purposes of 42 USCA §

1983 and acted under color of law to deprive plaintiffs of their Constitutional rights, as set forth

more fully below.




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       53.      At the time of the incident, Defendant officers were aware that Crenshaw had lost

control of his vehicle and subsequently crashed his car. Based on these facts, Defendant officers

had a reasonable basis to infer that Crenshaw had a substantial risk of incurring serious harm.

       54.      Defendant officers had actual or constructive knowledge of Crenshaw’s injuries

because they saw the vehicle engulfed in flames but proceeded in conscious or deliberate

indifference to these facts.

       55.      Defendant officers owed a duty as first responders to render aid, or attempt to

provide first aid to Crenshaw, and operated in conscious disregard of this duty. In addition,

Defendant officers’ conduct in clear disregard of the duty to render medical aid include but are not

limited to the following:

             a. Failure to stop and render first aid;

             b. Failure to call medical personnel;

             c. Failure to provide reasonable transportation to hospital to obtain medical services;

             d. Failure to provide timely and reasonable accommodations to obtain medical

                services;

             e. Deliberate delay in calling for medical aid;

             f. Deliberate delay in arrival of medical personnel;

             g. Deliberate denial of providing medical services;

             h. Denial of medical services in direct violation of Tex. Code Crim. Proc. art. 2.33

       56.      Defendant officers’ conduct in failing to provide even the most basic medical

assistance to Crenshaw immediately following their pursuit directly exacerbated Crenshaw’s

injuries. Defendant officers delayed, stalled, and prolonged the time it took for Crenshaw to be




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rescued from his vehicle, in addition to being seen by medical professionals. The consequence of

these actions directly contributed to and increased the severity of Crenshaw’s injuries.

        57.     Plaintiff further alleges that Defendants City of Dallas and Dallas Police

Department were on notice of the Constitutional defects in the training of Dallas police officers,

including, but not limited to failure to adopt proper policies requiring that officers render medical

aid to civilians, and inadequate training of officers in rendering emergency medical aid.

        58.     The foregoing acts and omissions amount to deliberate indifference to the serious

medical needs of Crenshaw. Plaintiff were subjected to cruel and unusual punishment in violation

of the Fifth and Eighth Amendment of the United States Constitution.

                                               Count III
                                  Municipal Liability – 42 U.S.C. § 1983

        59.     Each of the Paragraphs in this Complaint is incorporated as if restated fully herein.

        60.     As described in the preceding paragraphs, the misconduct described in Counts I-II

was undertaken under the policy and practice of the City of Dallas, such that Defendant City of

Dallas is also liable, in that:

        a.      The City of Dallas officials, knew and/or reasonably should have known about

        repeated acts of misconduct by Defendant Officers.

        b.      As a result of the deliberate indifference, reckless and/or conscious disregard of the

        misconduct by Defendant Officers, the City of Dallas officials ratified, encouraged, or

        sanctioned these officers to continue their course of misconduct and caused these officers'

        lack of training, resulting in the violation of the Plaintiff's rights as alleged in this

        complaint.

        c.      As a matter of both policy and practice, the City of Dallas Police Department had

        a de facto or informal custom of allowing officers to engage in a vehicular pursuit of



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       potential suspects in the absence of a warrant for the suspects arrest, or without committing

       a felony, such that it enabled Plaintiff’s rights to be violated during the date of the incident

       in question.

       d.      As a matter of widespread custom and policy, the City of Dallas Police Department

       did not require police officers to either stop and render aid to civilians suspected of

       committing violations of the law, or require officers to refrain from high-speed pursuit of

       individuals not convicted of a felony, in violation of Plaintiff’s Fourth, Fifth, and/or

       Fourteenth Amendments rights so as to constitute a deliberately indifferent failure to adopt

       policies necessary to prevent constitutional violations by the City of Dallas.

       e.      As a matter of both policy and practice, the City of Dallas encourages, and is

       thereby the moving force behind, the very type of misconduct at issue in Counts I-II by

       failing to adequately train, supervise, control and discipline its officers such that its failure

       to do so manifests deliberate indifference.

       f.      As a matter of both policy and practice, the City of Dallas failed to use appropriate

       and generally accepted law enforcement policies, procedures, and training in handling

       injured, medically disabled, or wounded civilians.

       g.      As a matter of both policy and practice, the City of Dallas facilitates the very type

       of misconduct at issue in Counts I-II by failing to adequately investigate, punish, and

       discipline prior instances of similar misconduct, thereby leading Dallas police officers to

       believe their actions will never be meaningfully scrutinized. Accordingly, in that way, the

       City of Dallas directly encourages future uses of excessive deadly force, unlawful

       detention, failures to intervene, such as those Plaintiff complains of.




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       h.      As a matter of both policy and practice, the City of Dallas encourages and is the

       moving force behind the failure to render aid by promoting and encouraging a policy,

       practice, and procedure for police officers not to render aid to individuals injured by the

       police officers’ conduct.

       61.      As a direct and proximate result of the unconstitutional actions, omissions,

customs, policies, practices, and procedures of Defendant County, as described above, Plaintiffs

sustained serious and permanent injuries and is entitled to damages, penalties, costs and attorneys'

fees as set forth in paragraphs 54–56, above, including punitive damages.

                                            Count IV
                                             TTCA
                                   (Against the City of Dallas)

       62.     Each paragraph of this Complaint is incorporated as if restated fully herein.

       63.     Plaintiff would show that governmental/ sovereign immunity has been waived with

regard to Plaintiffs' claims against Defendants City of Dallas and Dallas Police Department,

pursuant to the Texas Civil Practice and Remedies Code § 101.021, also known as the Texas Tort

Claims Act.

       64.     Defendant officers Anderson and Robertson of the Dallas Police Department, while

acting within the scope of their employment, negligently used tangible personal property, namely

Dallas Police Department patrol vehicles to engage in a reckless pursuit of Plaintiff which

proximately caused Plaintiff’s injuries.

       65.     Defendant the City of Dallas is liable for the wrongful acts, omissions, and

negligence of Defendant Officers Anderson and Robertson, who are sworn peace officers

employed in the City of Dallas, pursuant to the Texas Tort Claims Act. In accordance with the




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Texas Tort Claims Act election of remedies requirement, Plaintiff's cause of action is brought

against the City of Dallas.

        66.     Plaintiffs timely provided notice under the TTCA. Alternatively, the City of Dallas

had timely, actual notice of this claim and the circumstance of this case.

        67.     No exception to the waiver of immunity bars this claim because no exception

applies.

                                             Count V
                                        Respondeat Superior

        58.     Each paragraph of this Complaint is incorporated as if restated fully herein.

        59.     At the time of the incident and at all relevant and material times, Defendant Officers

Anderson and Robertson were acting in the course and scope of his employment on behalf of DPD.

Defendant Anderson and Robertson were acting in their capacity as an employee, statutory

employee, borrowed servant, agent, joint venturer, joint enterpriser, and/or in partnership with

DPD and the City of Dallas.

        60.     Further, upon information and belief, DPD and the City of Dallas exercised control

and/or had the right to exercise control over their actions, their training, their safety policies and

procedures, their dispute resolution and de-escalation policies, procedures, and training, and

citizen interactions. The DPD and the City of Dallas monitored and/or had the ability to monitor

Defendant Officers Anderson and Robertsons’ training, policies and procedures that would have

prevented the injuries to Plaintiffs.

                                            Count VI
                                        Exemplary Damages

        61.     Plaintiffs incorporate each and every allegation of the foregoing paragraphs as if

fully incorporated herein.




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       62.      At all times material thereto, Defendants, jointly and severally, acted with such

gross misconduct, gross negligence, and such callous disregard for the Plaintiff’s rights so as to

shock the conscience of any reasonable person such that the individual Defendants, jointly and

severally, should be required to pay punitive damages in order that Defendants may be restrained

from committing such acts against any person or citizens in the future. 42 U.S.C. § 1983.

                                         VIII. DAMAGES

       63.      As a proximate result of Defendants’ negligence, negligence per se, gross

negligence, and other wrongful conduct as set forth above, Plaintiffs bring claims and request that

the jury determine the sum of money for each element of damages that will fairly and reasonably

compensate Crenshaw for his harms and losses suffered in the past and those which will, in

reasonable probability, be suffered in the future as a result of the injuries incurred by Plaintiff

Crenshaw. These damages—those incurred up to the time of trial and those to be incurred beyond

the time of trial—include but are not limited to:

             a. Past medical expenses;

             b. Future medical expenses reasonable and necessary to treat Plaintiff Cantu, Jr.’s

                injuries;

             c. Past pain and suffering;

             d. Future pain and suffering;

             e. Physical impairment;

             f. Physical disfigurement;

             g. Mental anguish sustained in the past;

             h. Mental anguish that in reasonable probability will be sustained in the future;

             i. Pre-judgment interest;




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             j. Post-judgment interest;

             k. Court costs;

             l. Exemplary damages; and

             m. Such other and further relief, both at law and in equity, to which Plaintiffs are justly

                entitled.

                                      IX.        JURY DEMAND

       64.      Plaintiffs exercise their right to demand a trial by jury pursuant to Federal Rule of

Civil Procedure 38(b) on all issues so triable.

                                            X.      PRAYER

       65.      For these reasons, Plaintiffs ask that, after trial, the Court render judgment against

Defendants, jointly and severally, for all actual damages as alleged herein; punitive and/or

exemplary damages; costs of court; pre-judgment and post judgment interest at the highest legal

rate thereon for all damages; and for all such other relief to which Plaintiffs may be justly entitled,

at law or in equity, special or general.



                                                  Respectfully submitted,

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